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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                              Southern District
                                             __________ DistrictofofNew York
                                                                     __________


                       FARHAD AZIMA                            )
                             Plaintiff                         )
                                v.                             )      Case No. 22-cv-8728 (PGG)
                    DECHERT LLP, et al.                        )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Defendants Nicholas Del Rosso and Vital Management Services, Inc.                                             .


Date:          10/31/2022                                                              /s/ Samuel Rosenthal
                                                                                         Attorney’s signature


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